                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                               CASE NO: 5:17-CV-628

RODRIGUEZ MARTINEZ, et al.          )
                                    )
       Plaintiffs,                  )
                                    )
               vs.                  )
                                    )
ALPHA TECHNOLOGIES SERVICES,        )
INC., et al.                        )
                                    )
       Defendants.                  )
____________________________________)

  MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR CONDITIONAL
 CERTIFICATION OF A COLLECTIVE ACTION, FOR DISCLOSURE OF CONTACT
  INFORMATION FOR POTENTIAL OPT-IN PLAINTIFFS, AND TO DISTRIBUTE
         COURT-APPROVED NOTICE PURSUANT TO 29 U.S.C. § 216(b)
I.     STATEMENT OF THE CASE

       The First Amended Class and Collective Action Complaint (“Am. Compl.”), filed on

January 10, 2018, alleges that Plaintiffs were jointly employed in the construction of a solar farm

in Hope Mills, North Carolina in 2015 and 2016 by the Defendants, Alpha Technologies

Services, Inc. (“ATS”), East Carolina Commercial Services, LLC (“ECCS”), Cesar Mendoza

(“Mendoza”), Solar Guys, Inc. (“SGI”), and Jorge Ramos (“Ramos”). Am. Compl. ¶¶ 8-29. The

named Plaintiffs, Pedro Rodriguez Martinez, Mateo Hernandez Lopez and Elmer Menjivar

Argeta, allege that while they were employed at the solar farm, they and their similarly situated

coworkers suffered violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et

seq., and the North Carolina Wage and Hour Act (“NCWHA”), N.C. Gen. Stat. §§ 95-25.1, et

seq. Specifically, they allege that Defendants failed to pay them and all other similarly situated

employees the proper overtime rate, made unauthorized and illegal wage deductions from their



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pay, required them to purchase their own personal protective equipment (“PPE”), and failed to

pay the promised wage for all hours worked. Am. Compl. ¶¶ 1,111-12, 116-17, 121, 124.

       Plaintiffs bring their FLSA claims on behalf of themselves and all other similarly situated

employees through two separate FLSA collective actions. Id. ¶¶ 90 – 93; 29 U.S.C. § 216(b). The

first one covers those employees who, like Plaintiffs, were required to work in excess of forty

hours per week for a flat hourly rate, but without being compensated at one and one-half times

their regular rate of pay for overtime hours. Id. ¶ 90 (the “Overtime Collective Action”). The

second collective action covers those employees who, like Plaintiffs, were required to purchase

and provide their own PPE without being reimbursed for those costs. Id. at ¶ 92 (the “PPE

Collective Action”).

       Defendants ATS, ECCS, and Mendoza have filed Answers and Affirmative Defenses

(DE 34 and 37) and Defendants SG and Ramos filed a Motion to Dismiss, which has not been

ruled on. DE 32. The parties have engaged in an initial scheduling conference pursuant to Rule

26(f), Fed. R. Civ. P., in which Plaintiffs agreed to move for conditional certification of the

FLSA claims by June 15, 2018. DE 44.

II.    STATEMENT OF RELEVANT FACTS

       Defendants built a solar farm in Hope Mills, Cumberland County, North Carolina, known

as Innovative Solar 46, IS46 and Principal Sunrise IV (“IS46” or the “Solar Farm”). Am. Compl.

¶ 30. During the Solar Farm’s construction, Defendant ATS acted as the general contractor,

hiring and managing all subcontractors and ensuring that all staffing needs were met. Id. at ¶ 35.

Defendant ATS contracted with Defendant Ramos and his company, Defendant SG, to provide

most of the construction labor. Id. at ¶ 36. Defendants Ramos and SG subcontracted with




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Defendant Mendoza and his company, Defendant ECCS, to provide additional workers. Id. at ¶

37.

       Plaintiffs worked on the Solar Farm project between December 2015 and May 2016. Id.

at ¶¶ 8 -10. Plaintiff Menjivar Argeta learned of the job through an advertisement he saw on

Facebook. Id. at ¶ 49; Declaration of Elmer Menjivar Argeta, attached as Exhibit 1, ¶ 3. When

Plaintiff Menjivar Argeta responded to the advertisement, he was instructed to come to the Solar

Farm to apply in person and bring his own boots, hard hat, vest, safety glasses, and gloves. Am.

Compl. ¶ 49; Ex. 1, ¶ 3. Plaintiffs Rodriguez Martinez and Hernandez Lopez learned about the

job opportunity from friends and went to the Solar Farm to apply in person. Am. Compl. ¶¶ 55,

58; Declaration of Mateo Hernandez Lopez, attached as Exhibit 2, ¶ 3. The named Plaintiffs and

their coworkers were required to attend weekly safety meetings, where they were told that they

would not be allowed to work if they did not have the required vest, boots, hard hat, safety

glasses and gloves. Am. Compl. ¶ 62; Ex. 1, ¶ 5; Ex. 2, ¶ 5. There were also signs posted around

the jobsite about the required safety equipment and people in the office instructed Plaintiffs that

they were required to bring the safety equipment to work each day. Ex. 1, ¶. 5; Ex. 2, ¶ 5. Each

of the Plaintiffs purchased their own safety gear for around $200. They were not reimbursed for

the cost of purchasing that gear, and none of them were ever told by any of their employers that

the safety gear could be provided to them free of charge. Am. Compl. ¶¶ 70-71; Ex. 1, ¶ 6; Ex. 2,

¶ 6. These de facto deductions brought their pay below the minimum wage required by 29 U.S.C.

§ 206(a) during at least their first work week. Am. Compl., ¶ 93, 117.

       Plaintiffs and their coworkers regularly worked more than forty hours per week, usually

beginning work around 7:00 a.m. and working until 6:00 p.m., with a one hour lunch break, six

days per week. Id. ¶ 75; Ex. 1, ¶ 7; Ex. 2, ¶ 7. Plaintiffs and their coworkers were paid a flat



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hourly rate for all hours worked, including when they worked over forty hours in a workweek.

Am. Compl., ¶ 83; Ex. 1, ¶ 8; Ex. 2, ¶ 8.

III.   ARGUMENT

       A. Plaintiffs Have Met The Minimal Burden Required To Establish That These FLSA
          Statutory Class Actions Should Be Conditionally Certified
       The FLSA allows one or more individual employees to file an action against their

employer for unpaid minimum wage and/or overtime pay on behalf of themselves and “other

employees similarly situated.” 29 U.S.C. § 216(b). In order for the similarly situated colleagues

to participate as party-plaintiffs in the action, they must file with the court a written consent

indicating their desire to become a party with the court. Id. According to the Supreme Court, the

purpose of conditional certification of a FLSA collective action is “to facilitate notice to potential

class members so they may have the opportunity to opt in” Rosinbaum v. Flowers Foods, Inc.,

238 F.Supp. 3d 738, 743 (E.D.N.C. 2017) (Flanagan, J) (citing Hoffman-La Roche Inc. v.

Sperling, 493 U.S. 165, 170 (1989)).

       This court has traditionally used a two-step process to certify a representative action

under 29 U.S.C. § 216(b). Rosinbaum, 238 F.Supp.3d at 743. “At the notice stage, early in a

case, the court conditionally certifies the class based on the limited record before it and approves

notice to putative class members of their right to opt in.” Id.; De Luna-Guerrero v. N.C.

Grower’s Ass’n, Inc., 338 F. Supp. 2d 649, 654-56 (E.D.N.C. 2004) (finding that plaintiffs and

potential opt ins were similarly situated based on the pleadings and granting conditional

certification before discovery took place). This preliminary pronouncement is “usually based

only on the pleadings and any affidavits that have been submitted” during the initial stages of

litigation. Mooney v. Aramco Services, Co., 54 F.3d 1207, 1214 (5th Cir. 1995); De Luna-

Guerrero, 338 F.Supp. 2d at 654-56 (finding that plaintiffs and potential opt ins were similarly


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situated based on the pleadings and granting conditional certification before discovery took

place.). “The standard for conditional certification is fairly lenient and requires nothing more

than substantial allegations that the putative class members were together the victims of a single

decision, policy, or plan.” Romero v. Mountaire Farms, 796 F. Supp. 2d 700, 705 (E.D.N.C.

2011) (citing Thiessen v. Gen. Elec. Capital Corp., 267 F.3d 1095, 1102 (10th Cir. 2001)); see

also Reeves v. Alliant Techsystems, 77 F. Supp. 2d. 242, 247 (D.R.I. 1999) (“plaintiffs can meet

this burden by simply alleging that putative class members were together the victims of a single

decision, policy, or plan that violated the law”).

        The second phase of the two-tiered analysis takes place once discovery is completed and

the case is ready for trial, but only if the party opposing statutory class certification files a motion

for decertification. Romero, 796 F. Supp. 2d at 705. Because discovery will have been completed

at that point and there will likely be much more information before the court, the court is better

able to make a factual determination as to whether the proposed class is “similarly situated.”

Rawls v. Augustine Home Health Care, Inc., 244 F.R.D. 298 (D.Md. 2007).

        “The Fourth Circuit has not announced a test to determine whether employees are

similarly situated under the FLSA.” Rosinbaum, 238 F.Supp.3d at 743. Courts in this district

have addressed the issue several times, however, and have held that to be similarly situated in the

context of FLSA collective actions putative class members must “raise a similar legal issue as to

coverage, exemption, or nonpayment of minimum wages or overtime arising from at least a

manageably similar factual setting with respect to their job requirements and pay provisions.”

Romero, 796 F.Supp. 2d at 705 (internal citations omitted); see also Rosinbaum, 238 F.Supp.3d

at 743 (collecting cases). Allegations in the First Amended Complaint and the declarations filed

with this motion provide sufficient evidence to surpass the “lenient standard” for conditional



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certification for the statutory classes Plaintiffs seek to represent under § 216(b) at this stage of

litigation. Plaintiffs and their similarly situated coworkers raise similar legal issues based on

policies and practices that affected all of them, these violations occurred in a practically identical

factual setting, and Plaintiffs and the members of the putative collective action seek the same

relief.

          i.      Plaintiffs and the putative class members were employees.

          As a preliminary matter, there is sufficient evidence to demonstrate that although they

may have been classified as independent contractors, the named Plaintiffs and putative class

members “will prevail in demonstrating their claimed status as employees” who are protected by

the FLSA and may take advantage of the representative action procedure in § 216(b).

Rosinbaum, 738 F.Supp.3d at 745. “An employee is defined as ‘any individual employed by an

employer,’ [29 U.S.C.] § 203(e)(1), and an ‘employer’ includes ‘any person acting directly or

indirectly in the interest of an employer in relation to an employee, id.§ 203(d).’” Schultz. v.

Capital Intern. Sec., Inc., 466 F.3d 298, 304 (4th Cir. 2006). “To determine whether an

individual qualifies as an employee under the FLSA, the court must consider the economic

realities to determine whether the individual is economically dependent on the business to which

he renders service or is, as a matter of economic reality, in business for himself.” Id. at 743

(internal quotations removed) (citing Schultz, 466 F.3d at 304). To help distinguish between who

is an employee and who is truly an independent contractor, courts use a six-factor test in which

no factor is dispositive. Schultz, 466 F.3d at 304.

               The factors are (1) the degree of control that the putative employer has
               over the manner in which the work is performed; (2) the worker’s
               opportunities for profit or loss dependent on his managerial skill; (3) the
               worker’s investment in equipment or material, or his employment of other
               workers; (4) the degree of skill required for the work; (5) the permanence


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             of the working relationship; and (6) the degree to which the services
             rendered are an integral part of the putative employer’s business.

Id.

       The allegations in the First Amended Complaint and Plaintiffs’ declarations demonstrate

that the Plaintiffs and putative class members were clearly economically dependent on the

Defendants and were not in business for themselves. Their access to the job site was restricted,

they were checked-in and out of work each day, their hours were tracked, they were paid an

hourly rate rather than a contract rate, they did not determine their own work schedules, and they

were required to attend weekly safety meetings. Ex. 1, ¶¶ 4, 5, 7, 8; Ex. 2, ¶¶ 4, 5, 7, 8. They

were employed doing basic manual labor and their jobs were advertised as unskilled. Am.

Compl. ¶ 48. They received instructions about what to do and how to do it from multiple

supervisors. Id. ¶¶ 52, 56. They applied for the jobs, were hired, and eventually fired or laid off

all in the manner of employees. Id. ¶¶ 49, 55, 58, 66-8; Ex. 1, ¶ 3; Ex. 2, ¶ 3. They received

traditional paychecks on a weekly basis. Am. Compl. ¶ 85. Although they were required to

purchase and provide their own protective gear, the necessary tools and equipment were

provided by Defendants; specifically, the nail guns (Am. Compl. ¶ 53), shovels (id. ¶ 61), trucks

and heavy machinery (id. ¶¶ 57, 60) and other materials needed to build the solar panels (id. ¶

54) were provided to them. Finally, the work the named Plaintiffs and their coworkers did was

integral to the Defendants’ businesses. Id. ¶ 64. The Court should find, as it did in Rosinbaum,

that there is “substantial evidence that members of the proposed class[es] may qualify as

employees under the FLSA.” 238 F. Supp. 3d at 744.

       ii.      Plaintiffs and putative Overtime Collective Action members are similarly situated.

       This Court should also find that the named Plaintiffs and the putative Overtime

Collective Action members are similarly situated with regard to their legal claims. Plaintiffs seek

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to represent themselves individually and “all similarly situated individuals employed by

Defendant East Carolina Commercial Services individually or jointly with one or more of the

other Defendants in the construction of IS46 who were required to work in excess of 40 hours

per week for a flat hourly rate without receiving the required premium for overtime hours and

who timely file (or have already filed) a written consent to be a party to this action pursuant to 29

U.S.C. § 216(b).” See Plaintiffs’ Motion for Conditional Certification of a Collective Action, For

Disclosure of Contact Information for Potential Opt-in Plaintiffs and to Distribute Court-

Approved Notice Pursuant to 29 U.S.C. § 216(b) (“Pl’s 216(b) Motion”); see also Am. Compl., ¶

90 (slightly different class definition). The sworn declarations and allegations of Plaintiffs

demonstrate that they and the putative members of the Overtime Collective Action were subject

to the same policy or practice: Defendants required employees to work in excess of 40 hours per

week for a flat hourly rate without paying them the required premium for overtime hours. Am.

Compl., ¶¶ 75, 83; Ex. 1, ¶ 8; Ex. 2, ¶ 8. As a result of this policy or practice of Defendants,

Plaintiffs and putative members of the Overtime Collective Action were deprived of overtime

wages due to them under 29 U.S.C. § 207(a)(1) throughout the time that they were employed by

Defendants. Therefore, this Court should find that Plaintiffs are similarly situated to the putative

members of the Overtime Collective Action.

       iii.    Plaintiffs and putative PPE Collective Action members are similarly situated.

       Plaintiffs seek to represent a second collective action under the FLSA. The PPE

Collective Action includes themselves as individuals and “all similarly situated individuals

employed by Defendant East Carolina Commercial Services individually or jointly with one or

more of the other Defendants in the construction of IS46 who were required to purchase and

provide their own hard hats, vests, boots, safety glasses and/or gloves and who timely file (or



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have already filed) a written consent to be a party to this action pursuant to 29 U.S.C. § 216(b).”

Pl’s 216(b) Motion; see also Am. Compl. ¶ 92 (slightly different definition). The sworn

declarations and allegations of Plaintiffs demonstrate they and the putative members of the PPE

Collective Action were subject to the same policy or practice: Defendants required employees to

purchase their own protective equipment without reimbursing them for that cost. Am. Compl., ¶¶

69-71; Ex. 1, ¶¶ 5-6; Ex. 2, ¶¶ 5-6.

       FLSA regulations make it clear that an employer may not deduct from an employee’s pay

the cost of furnishing facilities which primarily benefit the employer, if that deduction brings the

employee’s wages below the minimum wage. 29 C.F.R. §§ 531.35, 531.3(d)(1), 531.36(b).

Courts in this district have held that “failing to reimburse plaintiffs for their expenditures is

equivalent to the employer paying for these expenses and then improperly deducting them from

the employees’ pay for the first workweek.” Gaxiola v. Williams Seafood of Arapahoe, Inc., 776

F.Supp.2d 117, 125 (E.D.N.C. 2011). “Known as a de facto deduction, there is no legal

difference between deducting a cost directly from the workers’ wages and shifting a cost, which

they could not deduct, for the employee to bear.” Id., quoting Arriaga v. Florida Pacific Farms,

LLC, 305 F.3d 1228 (11th Cir. 2002). The hard hats, gloves, vests, boots, and safety glasses

which the Plaintiffs were required to purchase and provide on their own were “primarily for the

benefit or convenience of the employer” because they were required to be provided by employers

free of charge by the Occupational Safety and Health Administration regulations for

construction. See 29 C.F.R. § 1926.15. The PPE was part of a uniform which employees were

required to wear and/or they were “tools of the trade,” specifically required for the performance

of the employers’ work. 29 C.F.R. §§ 531.35, 531.3(d)(2); De-Luna Guerrero, 338 F. Supp.2d at

656, 57.



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       In the instant case, Plaintiffs allege they were paid $10 per hour, or $400 for forty hours,

and spent between a minimum of $100 to around $200 on equipment that was for the benefit of

their employer in order to begin working. Am. Compl. ¶ 70; Ex. 1, ¶¶ 6-8; Ex. 2, ¶¶ 6-8.

Minimum wage for 40 hours of work is $290 (40 x $7.25). Therefore any deduction or de facto

deduction for personal protective equipment of greater than $110 resulted in a minimum wage

violation for each employee ($400 - $290 = $110). This Court should find that Plaintiffs are

similarly situated to the putative members of the PPE Collective Action because as a result of

Defendants’ policy or practice of requiring workers at the Solar Farm to purchase and provide

their own safety gear, the wages of Plaintiffs and putative members of the PPE Collective Action

were brought below the minimum wage required by 29 U.S.C. § 206(a) during at least their first

workweek. Am. Compl. ¶ 93.

       In addition to being similarly situated with regard to their legal claims, the allegations in

the First Amended Complaint and declarations demonstrate that Plaintiffs and their co-workers

in the putative PPE Collective Action have legal claims that arise from a “manageably similar

factual setting.” Rosinbaum, 738 F.Supp. 3d at 747. Here, the Plaintiffs and their coworkers

were all told that they had to wear a brightly colored vest, hard hat, gloves, boots, and safety

glasses to work each day. This was reemphasized on a weekly basis at site-wide safety meetings,

as well as on signs around the job site. Am. Compl. ¶ 69. Their hourly wage, at least at the

beginning of work on the Solar Farm, was advertised as $10 per hour. Id. at ¶¶ 48, 58, 80. And

they were all required to purchase the equipment on their own and no one ever reimbursed them

for it. Id. at ¶¶ 70-71. Similarly situated means “similarly situated with respect to the legal and,

to a lesser extent, the factual issues to be determined.” De Luna-Guerrero, 338 F. Supp. 2d at

654. Although “[s]ome individualized inquiry may be necessary” to determine how much money



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each class member spent on required safety equipment, the policy and factual setting giving rise

to the FLSA claim are very similar. In the context of a traditional class action pursuant to Rule

23, Fed. R. Civ. P., a class representative’s claims may be typical of the potential class members

even when there are “differences in the amount of damages claimed, or even differences in the

availability of certain defenses against a class representative.” Haywood v. Barnes, 109 F.R.D.

568, 578 (E.D.N.C. 1986). In the context of a FLSA collective action, where the standard of

conditional certification is even more lenient, such differences can be present and the class

representatives and potential class members will still be similarly situated. Romero, 796. F.

Supp. 2d at 705 (“Differences as to time actually worked, wages actually due and hours involved

are, of course, not significant to this determination.”). Here, the amount of unpaid minimum

wages and overtime wages each Plaintiff and opt-in plaintiff is entitled to will be different

because each worked for a different length of time, there may have been some variations in their

weekly schedules, and they may have paid different amounts to purchase their personal

protective equipment, but the unlawful policies to which they were subjected and the nature of

the relief is identical. For these reasons, conditional certification is warranted.

        B. The Court Should Exercise Its Discretion Under 29 U.S.C. §216(b) to Approve and
           Distribute the Requested Class Notice

        This Court’s authorization of notice to potential collective action members at this stage of

litigation would appropriately advance the remedial goals of the FLSA and promote judicial

efficiency. Section 216(b) of the FLSA authorizes trial courts to provide that court-approved

notice be sent to potential Plaintiffs to inform them of an action and allow them an opportunity to

opt in. Hoffman-LaRoche, 493 U.S. at 169-72. Indeed, the point of conditional certification of

FLSA collective actions is to facilitate notice to putative class members. Id. at 170. “The benefits

of the class action provisions of § 16(b) ‘depend on employees receiving accurate and timely

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notice concerning the pendency of the collective action, so that they can make informed

decisions about whether to participate.’” Shaffer v. Farm Fresh, Inc., 966 F.2d 142, 147 (4th

Cir.year?), cert denied, 506 U.S. 1021 (1992). Distributing court-authorized notice early in the

case promotes the “broad remedial purpose” of the FLSA and promotes efficient case

management by insuring that similar claims are combined in one proceeding. Dybach v. State of

Fla. Dept of Corrections, 942 F.2d 1562, 1567 (11th Cir. 1991); Rosinbaum, 238 F.Supp. 3d at

744 (acknowledging the Supreme Court’s “apparent preference for speedy notice to potential

class members” so that they may opt in to stop the statute of limitations from running). “If the

class is conditionally certified, the court typically authorizes plaintiffs’ counsel to provide

putative class members with notice of the lawsuit and their right to opt in.” Serrano Diaz v.

Quality Crab Co., Inc., No. 2:10-CV-15, 2011 WL 4498939 at *2 (E.D.N.C. Sept. 27, 2011).

       Accordingly, Plaintiffs respectfully ask the Court to exercise its discretion and move

expeditiously to approve distribution of the proposed notice, attached as Exhibit 3, and proposed

consent forms, attached as Exhibit 4, to potential opt-in plaintiffs in English and Spanish. Without

some form of court-approved notice in a language that they can understand, the putative class

members have no means of making any “informed decisions about whether to participate” in this

statutory class action. Hoffman-LaRoche, 493 U.S. at 170. The proposed notice is a condensed and

simplified version of the notices that Plaintiffs’ counsel have had approved by the Eastern District

of North Carolina in prior cases in order to make it more likely that putative class members read the

notice and understand their rights. However, Plaintiffs are also submitting an alternative notice,

attached as Exhibit 5, which is almost identical to the notice approved by this Court in Arellano

Galvan v. San Jose Mexican Restaurant of NC, No. 7:16-cv-39, 2016 WL 7264100 (E.D.N.C.




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December 15, 2016), in order to avoid delay in authorizing a notice should this Court, in its

discretion, find that the proposed notice attached as Exhibit 3 is lacking.

        Plaintiffs believe that Defendants are unlikely to have complete and accurate addresses

for the putative class members because the paystubs provided to Plaintiffs by Defendants ECCS

and Mendoza do not contain addresses. Am. Compl. ¶ 89. Therefore, in addition to being

permitted to send notice and consent forms through U.S. mail, Plaintiffs request permission to

send notice via email and to post the notice via Facebook. In Velasquez-Monterrosa v. Mi Casita

Restaurants, a case that involved a collective action on behalf of restaurant workers, a court in

this District approved plaintiff’s request to post a notice at the restaurant locations because

allowing such posting would promote the goals of judicial economy and efficiency in collective

actions based on the “high turnover and often-brief nature of restaurant work.” No. 5:14-cv-448,

2016 WL 1703351 at *4 (E.D.N.C. April 27, 2016). In the instant case, posting at the job-site is

not an option because construction ended in 2016, but the work was similarly brief and with high

turnover. Am. Compl. ¶¶ 66-68. In addition, Defendants ECCS and Mendoza advertised the jobs

and reached workers through Facebook. Id. at ¶ 48. Other district courts have approved similar

forms of notice. See e.g., Lima v. Int’l Catastrophe Solutions, Inc., 293 F. Supp.2d 793, 802

(E.D. La. 2007) (allowing publication, radio and internet announcements, and contacts with the

consulate). Accordingly, Plaintiff respectfully asks the Court to move expeditiously to authorize

notice to potential class members.

        Plaintiffs also request that this Court grant their counsel a period of six months during

which to distribute notice and file opt-in Plaintiffs’ consent forms with this Court. The putative

class members are low-income, many are Spanish speaking, and because the construction of the

Solar Farm has ended they are now dispersed. This six month period would begin on the date on



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which Defendants release potential class members’ contact information to Plaintiffs’ counsel. In

order for court-authorized notice to offer a meaningful opportunity to join this suit, Plaintiffs’

counsel will need at least six months to coordinate locating and effectively notifying potential

class members of their opportunity to opt-in to this action. Arellano Galvan v. San Jose Mexican

Restaurant of NC, Inc., No. 7:16-CV-39-FL, 2016 WL 6205783 (E.D.N.C. Oct. 24, 2016)

(granting plaintiffs’ request for a six-month opt-in period where defendants are unlikely to have

complete and accurate addresses for the putative class members).

       C. This Court Should Order Defendants to Provide the Names and Last Known
          Address of Potential Opt-in Plaintiffs
       To facilitate the sending of notice and consent forms, the Plaintiffs respectfully move this

Court for an order directing the Defendants to produce the full names, date(s) of employment,

job title(s), last known addresses, email addresses, telephone number(s), and dates of birth of all

putative collective action members no later than two weeks after entering its Order. In

Rosinbaum v. Flowers Foods, the court issued a very similar order to the one requested by

Plaintiffs, 238 F.Supp. 3d at 748, and in Hoffman-LaRoche, the Supreme Court held that it was

appropriate for the district court to permit disclosure of the names and addresses of possible opt-

in Plaintiffs. 493 U.S. at 170.

IV.    CONCLUSION

       In accordance with 29 U.S.C. § 216(b) and the procedures set forth in Hipp v. Liberty

Nat’l Ins. Co., 252 F.3d 1208 (11th Cir. 2001), Plaintiffs requests that this Court conditionally

certify two collective actions of the FLSA claims in Plaintiffs’ Complaint. In addition, Plaintiffs

requests that this Court approve for distribution the proposed Notice and proposed Consent to

Sue form, attached as Exhibits 4 and 5, and direct Defendants to produce the full names, date(s)

of employment, job title(s), last known addresses, telephone numbers, and dates of birth of all


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putative class members Plaintiffs further request that this Court authorize Plaintiffs’ counsel to

distribute the court-approved notice to potential opt-in Plaintiffs during the six-month period

subsequent to Defendants’ release of potential class members’ names and addresses to Plaintiffs’

counsel.



       Respectfully submitted, this the 19th day of June, 2018.


                                                            /s/ Clermont F. Ripley
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                                   CERTIFICATE OF SERVICE

I hereby certify that on June 19, 2018, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system which will send notification of such filing to the following:

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